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CORY BRANNON, etc., et al.,
Plaintiffs,

Vs.

BARLEAN’S ORGANIC OILS, LLC,

Defendant

 

 

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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF CALIFORNIA

Case N0.1‘18CV1619 BTM MDD

DEFENDANT’S MEMORANDUM 0F
POINTS AND AUTHORITIES IN SUPPORT
0F M0T10N FOR sUMMARY JUDGMENT
[FRCP 561

CLASS ACTION

Date: October 12, 2018
Time: 11:00 a.m.
Courtroom: 15B

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TO PLAINTIFF HEREIN AND TO HIS COUNSEL OF RECORD:

Defendant BARLEAN’S ORGANIC OILS, LLC (“Barlean’s) hereby submits the following
points and authorities in support of its Motion for Summary Judgment herein. This Motion is
essentially a Rule l2(b)(6) motion transformed into a Rule 56 motion by virtue of the submission of

factual inforrnation, by declaration, not contained in the Complaint herein.

I. INTRODUCTION

Plaintiff CORY BRANNON (“Brannon”) seeks to represent both a California class and a
national class in his allegations against Barlean’s, an award-winning supplements provider founded in
1989, and based in Ferndale, Washington.

Brannon’s case arises out of his alleged purchase of Barlean’s Greens Supplement Powders
(“the Product”) on an unspecified datel, and is largely based on what he calls the “Representations,”
or statements contained on the label of the Product or contained in Barlean’s advertisingz, including:

1. “NATURE’S PERFECT SUPERFOOD;”

2. “Pathway to a better life;”

3. “Vegan Superfood;”

4. containing “Antioxidant Power;”

5. “premium superfood;”

 

1 It is thus unknown at this point whether Brannon purchased the product outside the four year statute of limitations
contained in Califomia’s Unfair Competition Law, Cal. Bus. & Prot`. Code section 17200, and related statutes relied upon
by Brannon.
2 Brannon does not specifically state what advertising he reviewed and relied on, but for purposes of this motion, his
review and reliance will be assumed

DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
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5. “Supports cleansing of organs and tissues;”

6. “Super-Boost your health and ENERGY;”

7. “Help improve digestion;”

8. “Aid the body’s natural detoxification;”

9. “Promote a healthy immune system;” and

10. “superfoods designed to invigorate and nourish both your mind and body. Masterfully
formulated with Nature’s most vitalizing plant-based ingredients.”

Brannon complains that the Representations are not substantiated, and are therefore in
violation of the Dietary Supplement Health and Education Act of 1994, 21 U.S. Code 321, et seq.
(“the DSHEA”) ; are false and misleading, because the Product contains lead; and that the lead in the
Product is in excess of the allowable limit for lead under California’s Proposition 65, the Safe
Drinking Water and Toxic Enforcement Act of 1986, California Health & Safety Code §§25249.5, el
seq. (“Prop 65”).

Finally, Brannon contends that the Product does not contain the warning mandated by Prop
65, although he does not plead a violation of Prop 65. At most, his complaint can be read as
stating that if Barlean’s is not in compliance with Prop 65, then the Representations are unfair,
misleading or deceptive. The sworn evidence submitted by Barlean’s in support of this motion shows
that Barlean’s is in fact in compliance with Prop 65.

As will be seen below, Barlean’s is entitled to summary judgment on all of the claims made
by Brannon based on these allegations, because, as a legal matter, he cannot state a cause of action
under the California statutes and common law he cites, and no triable issue of fact exists to save

Brannon’s stated causes of action.

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II. BARLEAN’S IS ENTITLED TO SUMMARY JUDGMENT
ON ALL CAUSES OF ACTION

A. BARLEAN’S IS ENTITLED TO SUMMARY JUDGMENT ()N THE FIRST
CAUSE OF ACTION: UNFAIR AND UNLAWFUL BUSINESS ACTS AND
PRACTICE (California Business and Professions Code §17200, et seq.)

California Business and Professions Code §17200 et seq. (“the unfair competition law”, or
“UCL”) is written in the disjunctive [and] establishes three varieties of unfair competition - acts or
practices which are unlawful, or unfair, or fraudulent." (Podolsky v. Fz'rst Healthcare Corp. (1996) 50
Cal.App.4th 632, 647 Unlawful practices are practices "forbidden by law, be it civil or criminal,
federal, state, or municipal, statutory, regulatory, or court-made." (Sauna’ers v. Superior Court (1994
27 Cal.App.4th 832, 838-839.

Brannan alleges violations of §17200 based on unlawful and unfair acts and practices only.

1. BRANNON CANNOT STATE A CAUSE OF ACTION FOR
UNLA WFUL ACTS AND PRACTICES.

To state a cause of action based on an unlawful business act or practice under the UCL, a
plaintiff must allege facts sufficient to show a violation of some underlying law. Prakashpalan v
Engstrom, Ll`pscomb & Lack (2014) 223 Cal.App.4th 1105 at 1134.

Brannon states, in 11 2 of his complaint herein, that the Representations are not substantiated,
and therefore violate the DSHEA. lt is well settled, however, that private litigants may not bring any
UCL claims based on an alleged lack of substantiation. Nat'l Council Againsl Health Fraud Inc. v.
King Bio Pharms. Inc. (2003) 107 Cal. App. 4th 1336, 1345. ("Private plaintiffs are not authorized to
demand substantiation for advertising claims."). The California legislature "has expressly permitted

prosecuting authorities, but not private plaintiffs, to require substantiation of advertising claims," and

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"[t]his limitation prevents undue harassment of advertisers and is the least burdensome method of
obtaining substantiation for advertising claims." Id.; see also Bronson v. Johnson & Johnson, 2013
U.S. Dist. LEXIS 54029, 2013 WL 1629191, at *8 (N.D. Cal. Apr. 16, 201 (granting motion to
dismiss claims under all three prongs of the UCL premised on lack of substantiation allegations
because "[c]laims that rest on a lack of substantiation, instead of provable falsehoods, are not
cognizable under the California consumer protection laws").

Brannon also attempts to support his claim under the UCL by stating that the Product contains
lead in amounts that exceed the standard set by Prop 65. He further states that the label of the
Product does not contain the required Prop 65 warning. He does not, however, allege a violation of
Prop 65. Indeed, he cannot do so, because, as is set forth in the Declaration of John Puckett, filed and
served herewith (“Puckett Decl.”), the Product does in fact comply with Prop 65 (Puckett Decl. 1111 3 -
4).

Because Brannon cannot bring a private cause of action for a substantiation violation of the
DSHEA and does not, and cannot, allege a violation of Prop 65, he cannot state a cause of action
under the UCL for unlawful acts and practices

2. BRANNON CANNOT STATE A CAUSE OF ACTION
FOR UNFAIR ACTS AND PRACTICES.

Brannon also attempts to base his cause of action under the UCL on unfair acts and practices
In support of this cause of action, Brannon alleges that the failure to include a Prop 65 label on the
Product is a material misrepresentation and omission, and that Barlean’s has not provided
substantiation for its claims. As has already been demonstrated, Brannon cannot bring a
substantiation claim, and, as to his first basis, Barlean’s is already in compliance with Prop 65
(Puckett Decl., . 1111 3 - 4).

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Plaintiff himself relies on the requirements of Prop 65 as the standard for unfairness A
defense to the unfairness prong of the UCL exists, however, where the business practice at issue
expressly is authorized by statute. Cel-Tech Commc’ns, Inc. v. L.A. Cellular Tel. C0. (1999) 20 Cal.
4th 163, 183; (“Acts that the Legislature has determined to be lawful may not form the basis for an
action under the unfair competition law.”); Alvarez v. Chevron Corp., 656 F.3d 925, 933 (9th Cir.
2011) (applying California’s safe harbor doctrine, where “courts may not use the [UCL] to condemn
actions the Legislature permits.” v

Because Barlean’s acts and practices were expressly authorized by Prop 65, and because
Barlean’s is in compliance with Prop 65, Brannon has not stated a cause of action under the UCL for
unfair conduct. There is no triable issue of fact here because Brannon does not allege a violation of
Prop 65, and therefore whether or not the particular container of Product which he purchased at some
unspecified time in the past contained a Prop 65 warning is not relevant. At most, he has alleged that
if Barlean’s is not in compliance with Prop 65, then its labeling and advertising is “unfair.” The only
fact relevant to that inquiry is Barlean’s declaration under penalty of perjury that it does comply with
Prop 65.

3. THE RELIEF SOUGHT BY BRANNON UNDER THE UCL IS
UNAVAILABLE AND UNNECESSARY.

Finally, Brannon is not entitled to the relief he seeks under the UCL, injunctive relief and
restitution Injunctive relief is unnecessary, because Barlean’s is already in compliance with Prop 65.
See e.g. Cal. Serv. Station etc. Ass n v. Union Oil C0. (1991) 232 Cal.App.3d 44, 57 ([i]njunctive
relief will be denied if, at the time of the order or judgment, there is no reasonable probability that the
past acts complained of will recur . . . . ); accord, C. Pappas Co., Inc. v. E. & J. Gallo Winery, 610
F.Supp. 662, 672 (E.D.Cal. 1985) (requiring continuing activity); People v. Nat l Ass n of Realtors

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(1981) 120 Cal.App.3d 459, 476 ( where the injunction is sought solely to prevent recurrence of
proscribed conduct which has, in good faith been discontinued, there is no equitable reason for an
injunction).

Moreover, Brannon lacks standing to seek injunctive relief. He contends, at 115 of his
complaint herein, that “reasonable consumers would not have purchased the Products [sic] if they had
known that they contained lead in excess of the California Proposition 65 limits, or would have
purchased them [sic] on different terms. He then avers, at 11 39: “it is possible...that [he] would
purchase the Products [sic] in the future if the Representations were truthful, and/or if the Products
[sic] complied with the required California disclosure standards.” In other words, plaintiff says that
he would not have purchased the Product if he knew that it contained naturally occurring lead, but
now that he knows that, he would purchase the Product in the future. This is not a facially plausible
claim. Jou v Kimberly Clark Corp., 2013 U.S. Dist. LEXIS 173216 (N.D. Cal. 2013) at *12:

guided by the Ninth Circuit’s interpretation of Article lII’ standing requirements, this

Court agrees with the courts that hold that a plaintiff does not have standing to seek

prospective injunctive relief against a manufacturer or seller engaging in false or

misleading advertising unless there is a likelihood that the plaintiff would suffer
future harm from the defendant’s conduct - i.e., the plaintiff is still interested in
purchasing the product in question [emphasis added].

Brannon’s prayer for restitution under the UCL and California common law will be addressed

below, in response to his Fifth Cause of Action, for Quasi-Contract.

B. BARLEAN’S IS ENTITLED TO SUMMARY JUDGMENT ON THE SECOND
CAUSE OF ACTION: DECEPTlVE ADVERTISING PRACTICES (California
Business & Professions Code §§ 17500, et seq.)

Brannon bases his claims of deceptive advertising under the False Advertising Law,
California Business & Professions Code §§ 17500, et seq. (“FAL”) on the same grounds: one, that

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Barlean’s failed to comply with the DSHEA; two, that the labeling of the Product fails to comply
with Prop 65; and (3) that the labeling and advertising of the Product is deceptive.

The question of whether a business practice is deceptive in most cases presents a question of
fact not amenable to resolution on a motion to dismiss Wz'lliams v Gerber, 552 F.3d 934 at 938 (9th
Cir. 2008). In certain instances, however, the Court can properly make this determination and resolve
such claims based on its review of the product packaging See Brockey v. Moore (2003), 107 Cal.
App.4th 86, 100 ("the primary evidence in a false advertising case is the advertising itself"). Thus,
where a Court can conclude as a matter of law that members of the public are not likely to be
deceived by the product packaging, dismissal is appropriate See Rooney v. Cumberland Packz'ng
Corp., 2012 U.S. Dist. LEXIS 58710, 2012 WL 1512106 (S.D. Cal. Apr. 16, 2012).

The facts in this case are undisputed. Barlean’s respectfully suggests that the Court can
dispose of Brannon’s claims because Barlean’s advertising because, as a matter of law, it is not likely
to deceive a reasonable consumer.

The FAL cases concerning foodstuffs or supplements almost uniformly involve a disparity
between the label affirmations and the actual ingredients For example, in Pratt v. Whole Foods Mkt.
Cal. Inc., 2015 U.S. Dist. LEXIS 134968, at *l7-l8 (N.D. Cal. Sept. 30, 2015) the plaintiff alleged
that defendant’s use of the phrase “all natural” or “naturale” on the labels of certain products was
contradicted by the ingredients list, which included artificial ingredients, such as coloring and
chemical preservatives. 2015 U.S. Dist LEXIS 134968 at *3 ~ 4.

Similarly, in Hairston v South Beach Beverage Company, 2012 U.S. Dist. LEXIS 74279
(C.D. Cal. 2012), plaintiff claimed that the label “all natural” was deceptive because the product

contained synthetic ingredients, the names of fruits on the product labels were misleading because the

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product did not contain any fruit, and the use of common vitamin names on the label was misleading,
because the vitamins in the products were synthetic. Id., 2012 U.S. Dist. LEXIS 74279, at *34-35.

In Madenlian v Flax USA Inc., 2014 U.S. Dist. LEXIS 181473 (C.D. Cal. 2014), the Court
held that plaintiff could state a cause of action under the FAL where the product was labeled “All
Natural,” yet contained artificial, synthetic and extensively processed ingredients The same was true
in Bohac v. Gen. Mills, Inc., 2014 U.S. Dist. LEXIS 41454 (N.D. Cal. 2014), where advertising
claims that the product was “100% Natural” and “All Natural” were contradicted by the actual
ingredients, which included genetically modified organisms, sodium bicarbonate, soy lecithin, high
fructose corn syrup, maltodextrin and other similar ingredients Id., 2014 U.S. Dist. LEXIS 41454 at
*1.

Finally, in Allen v ConAgra Foods, Inc., 2013 U.S.Dist. LEXIS 125607 (N.D. Cal. 2013), a
label which stated that the product was “fat free” and “calorie free” was at odds with the product
label which revealed that the bottle of product contained 93 grams of fact and 832 calories. Ia'., 2013
U.S.Dist. LEXIS 125607 at*l-2.

In the instant case, however, there is no disparity between the statements made on Barlean’s
product label, and the list of ingredients in the Product. The Product which Brannon references in his
Complaint, Barlean’s Organic Greens Powder, contains the ingredients shown in Exhibit A to the
Puckett Decl. Every single ingredient is a natural organic one.

There is not a single ingredient on the list which belies the advertising claims made by
Barlean’s There is nothing on either the label or the ingredients list which could plausibly deceive a
reasonable consumer. Barlean’s submits that any reasonable consumer of its supplements has

probably been told from his or her earliest years to “eat your vegetables,” that “vegetables are good

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for you,” that “vegetables promote regularity,” and that vegetables contain antioxidants. There is
nothing in the label statements nor in the actual ingredients that is not in accord with such a
consumer’s reasonable expectations

Moreover, the language on the Barlean’s label is the type of "[g]eneralized, vague, and
unspecified assertions [that] constitute 'mere puffery' upon which a reasonable consumer could not
rely." Annunzl'ato v. eMachines, lnc., 402 F. Supp. 2d 1133, 1139 (C.D. Cal. 2005). AS the Ninth
Circuit explained in Cook, Perkiss and Liehe, Inc. v. Northern California Collection Service Inc., 911
F.2d 242, 246 (9th Cir. 1990), "[t]he common theme that seems to run through cases considering
puffery in a variety of contexts is that consumer reliance will be induced by specific rather than
general assertions." Consequently, "[a]dvertising which merely states in general terms that one
product is superior is not actionable However, misdescriptions of specific or absolute
characteristics of a product are actionable." Id. (intemal quotation marks omitted); see also
Consumer Aa’vocates v. Echostar Satellite Corp. (2003), 113 Cal. App. 4th 1351, 1361 (finding that
the descriptions of a satellite television system as possessing "crystal clear digital video" and "CD
quality audio" were nonactionable, as the representations were nothing more than "boasts, all-but-
meaningless superlatives," and "claim[s] which no reasonable consumer would take as anything more
weighty than an advertising slogan"). Jou v. Kimberly-Clark Corp. 2013 U.S. Dist. LEXIS 173216
(N.D. Cal. 2013) [emphasis added].

The Court may determine as a matter of law whether a statement is puffery. Cook, Perkz`ss
supra, 911 F.2d 242 at 246, confirms that "District courts often resolve whether a statement is
puffery when considering a motion to dismiss pursuant to Federal Rule of Civz'l Procedure 12(1))(6)

and we can think of no sound reason why they should not do so."

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Finally, with respect to the lead which Brannon alleges the Product contains, lead is not an
added ingredient lt occurs naturally in food. Puckett Decl. 11 7. Barlean’s complies with the
provisions of Prop 65 by attaching the prescribed Prop 65 label, warning that the Product contains
lead in excess of the (very low) limits set by Prop 65. Exhibit A to Puckett Decl. lt is inconceivable
that the California legislature intended that a manufacturer could comply with the requirements of
Prop 65, and still be vulnerable to claims of false advertising on that basis lf Brannon alleged that
the Representations included a statement such as “lead free,” then he might have stated a cause of
action. He has not done this, because the Representations do not include any such statement.

ln light of the fact that the Prop 65 label is attached to the Product, Barlean’s suggests that no
reasonable consumer could be misled. Again, Brannon does not allege a violation of Prop 65, and
therefore whether or not the particular container of Product which he purchased at some unspecified
time in the past contained a Prop 65 warning is not relevant. At most, he has alleged that if Barlean’s
is not in compliance with Prop 65, then its labeling and advertising is “unfair.” The only fact relevant

to that inquiry is Barlean’s declaration under penalty of perjury that it does comply with Prop 65.

C. BARLEAN’S IS ENTITLED TO SUMMARY JUDGMENT ON THE THIRD
CAUSE OF ACTION: CALIFORNIA CONSUMER LEGAL REMEDIES ACT
(California Civil Code §1750, et seq

As already noted, Brannon bases his claims under the California Consumer Legal Remedies
Act (“CLRA”) upon the same allegations he made for his claims under the UCL and the FAL: (l
lack of substantiation; (2) noncompliance with Prop 65 (although not alleging an actual violation of
Prop 65); and (3) allegedly misleading and false Representations.
As noted, California law does not provide for a private cause of action to enforce the
substantiation requirements of California's unfair competition and consumer protection laws

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including Civil Code §1750, et seq.) Kwan v. SanMea’ica Int'l, 854 F.3d 1088, 1091 (9th Cir. 2017),
Barlean’s is in compliance with Prop 65 (Puckett Decl. 1111 3 - 4).
And, as demonstrated above, the Representations made by Barlean’s with respect to its
Products are nonactionable “puffing,” which could not mislead any reasonable consumer.
The standard for a CLRA claim is the same as the standard for a UCL claim, and the
above analysis therefore applies See Elz`as [v Hewletl Packard], 2012 U.S. Dist.
LEXIS 146811, 2012 WL 4857822 at *9 (addressing CLRA, FAL, and UCL fraud
claim together because "[t]he standard for all three statutes is the 'reasonable
consumer' test, which requires a plaintiff to show that members of the public are likely
to be deceived by the business practice or advertising at issue") Eckler v. WaZ-Mart
Stores, Inc., No. l2-CV-727-LAB-MDD, 2012 U.S. Dist. LEXIS 157132, at *29 (S.D.
Cal. Oct. 31, 2012).
Brannon cannot bring a claim under the UCL or the FAL, and thus his CRLA claim must fail

as well.

D. BARLEAN’S IS ENTITLED TO SUMMARY JUDGMENT ON THE FOURTH
CAUSE OF ACTION: BREACH OF EXPRESS WARRANTY

Cal. Civ. Code § 1791.2(a)(1) defines an "express warranty" as "[a] written statement arising
out of a sale to the consumer of a consumer good pursuant to which the manufacturer, distributor, or
retailer undertakes to preserve or maintain the utility or performance of the consumer good or to
provide compensation if there is a failure in utility or performance"). To prevail on a breach of
express warranty claim, a plaintiff must prove that the seller "(1) made an affirmation of fact or
promise or provided a description of its goods; (2) the promise or description formed part of the basis
of the bargain; (3) the express warranty was breached; and (4) the breach caused injury to the
plaintiff." Rodarte v. Philip Morris, Inc., 2003 U.S. Dist. LEXIS 25067, 2003 WL 23341208, *7

(C.D. Cal. June 23, 2003).

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However, "[s]tatements constituting 'mere puffery' cannot support liability under a claim for
breach of warranty." Sanders v. Apple Inc., 672 F. Supp. 2d 978, 987 (N.D. Cal. 2009). .

lt is worthwhile to quote case law in this area at some length, for the numerous examples it
provides For example, in Hairston v South Beach Beverage Co., 2012 U.S. Dist. LEXIS 74279 * at
*18-19; 2012 WL 1893818 (C.D. Cal. 2012), the Court explained that the product

label fails to meet the definition of ‘written warranty’ under Section 2301 (6)(A) of the

MMWA because the label neither promises a defect-free product, nor guarantees a
level of performance over a specific time period. The challenged statements _ ‘all
natural with vitamins’ and the names of various Lifewater flavors _ are ‘product
descriptions’ rather than promises that Lifewater is defect-free, or guarantees of
specific performance levels See, e.g., In re Sears, Roebuck & Co. Tools Mktg. & Sales
Practices Litig., 2006 U.S. Dist. LEXIS 100903, 2006 WL 1443 73 7 UV.D. lll. May 17,
2006) (dismissing MMWA claim because ‘Made in USA’ is a ‘product description,’
not a promise of performance). However, even if the statements could somehow be
construed as promises or guarantees, they clearly do not ‘specify a level of
performance over a specified period of time’ and, thus, Plaintiff cannot state a claim
under the MMWA. See, e.g., Skelton v. GM Corp., 660 F.2d 311, 316 n. 7 (7th Cir.
1981) (‘A product information disclosure without a specified time period to which the
disclosure relates is . . . not a written warranty.’); Kelley v. Microsoft Corp., 2007 U.S.
Dist. LEXIS 66721, 2007 WL 2600841 (W.D. Wash. Sept. 10, 2007) (dismissing
MMWA claim because ‘Windows Vista Capable’ 2012 U.S. Dist. LEXIS 74279, *14
stickers lack ‘temporal element’ required to constitute a warranty). In addition,
because Lifewater beverages will be consumed immediately and not used repeatedly
over time, it would be impossible for Plaintiff to amend his First Amended Complaint
to allege such a temporal element. Moreover, the Lifewater label fails to satisfy the
definition of ‘written warranty’ under Section 2301 (6)(B) of the MMWA because it
does not promise refund, repair, or replacement if the product fails to meet
specifications Semitekol v. Monaco Coach Corp., 582 F. Supp. 2d 1009, 1027-28
(N.D. 111. 2008) (rej ecting MMWA claim where no promise of refund or repair).

Similarly, in Campen v Frito Lay, 2013 U.S. Dist. LEXIS 47126 *; 2013 WL 1320468 (N.D. Cal.
2013), the Court found that plaintiffs’ warranty claim failed as a matter of law.

Plaintiffs allege that Defendants' package labels are warranties that Defendants
breached by selling, at premium prices, food products whose labels do not comply
with federal or California labeling requirements . .This Court has held repeatedly that
such arguments are meritless, since product descriptions like "All Natural" labels "do
not constitute warranties against a product defect." Astz'cma v. Dreyer's Grand Ice

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Cream, Inc., No. C 11-2910 EMC, 2012 U.S. Dist. LEXIS 101371, 2012 WL
2990766, at *3 (N.D. Cal, July 20, 2012), mot. to certify appeal denied, No. C 11-
2910 EMC, 2012 U.S. Dist. LEXIS 147492, 2012 WL 3892391 (Oct. 12, 2012); see
also, e.g., Colucci, 2012 U.S. Dist. LEXIS 183050, 2012 WL 673 7800, at *5-6;
Jones, 2012 U.S. Dist. LEXIS 178352, 2012 WL 6569393, at *12-13 (citing cases).
Further, none of the labels promise that the product "will meet a specified level of
performance over a specified period of time." The labels were, at most, product
descriptions Id., 2013 U.S. Dist LEXIS 47126 at *40-41.
The Representations in this matter are clearly in the same category as those considered to be
“product descriptions” They “do not specify a level of performance over a specified period of time.”

They do not promise “refund, repair or replacement if the product frails to meet specifications.”

They cannot be used to jury-rig a claim for express warranty.

E. BARLEAN’S IS ENTITLED TO SUMMARY JUDGMENT ON THE FIFTH
CAUSE OF ACTION: QUASI¥CONTRACT

California courts “have frequently construed causes of action labeled ‘unjust enrichment’ as a
‘quasi-contract claim seeking restitution.”’ Mohebbi v. Khazen, 50 F.Supp.3d 1234 at 1260 (N.D.
Cal. 2014), quoting Rutherford Holdings, LLC v. Plaza Del Rey, (2014) 223 Cal.App.4th 221, 231.
The appellate court has also held that “[u]nj ust enrichment is synonymous with restitution.” Durell v.
Shczrp Healthcare (2010) 183 Cal.App.4th 1350, 1370, (citing Dinosaur Development. lnc. v. Whit¢
(1989) 216 Cal.App.3d 1310, 1314.

The elements for a claim of unjust enrichment are "receipt of a benefit and unjust retention of
the benefit at the expense of another." (Lectroa'ryer v. SeoulBank (2000) 77 Cal.App.4th 723, 726.
"The theory of unjust enrichment requires one who acquires a benefit which may not justly be
retained, to return either the thing or its equivalent to the aggrieved party so as not to be unjustly
enriched." (Otworth v. Southern Pac. Transportation Co. (1985) 166 Cal.App.3d 452, 460. lt is not,
strictly speaking, a theory of recovery, "`but an effect: the result of a failure to make restitution under

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circumstances where it is equitable to do so.' [Citation.] lt is synonymous with restitution."
(Melchior v. New Line Productz`ons, Inc. (2003) 106 Cal.App.4th 779, 793. Ordinarily, restitution is
required only if "`the benefits were conferred by mistake, fraud, coercion or request."' (Nl'bbl
Brothers, Inc. v. Home Federal Sav. & Loan Assn. (1988) 205 Cal.App.3d 1415, 1422.

Restitution is not an available remedy in the UCL context “for the exclusive purpose of
deterrence.” In re Tobacco Cases 11 (2015) 240 Cal.App.4th 779, 800 (citing Madrz'a’ v. Perol Sys,
Corp. (2005) 130 Cal.App.4th 440).

As has been demonstrated above, there is no mistake, fraud, coercion or request in this matter
to support a claim for restitution. Barlean’s labeling and advertising of the Products is in full
compliance with the laws which Brannon cites in his Complaint. Moreover, the Representations fall
into the category of “puffery,” as defined by the Courts, and cannot form the basis for restitution.

Unjust enrichment is not a cause of action, just a restitution claim. (Mc.Kell v.

Washingl()n Mul'ual, Inc., Sup)'a, 142 Cal.App.4th at p. 1490; Melchior v. New Line

Pl'oducl'ions, Inc. (2003) 106 Cal.App.4th 779, 793 [131 Cal. Rptr. 2d 347].) There

being no actionable wrong, there is no basis for the relief. Hill v. Roll Internat. Corp.
(2011) 195 Cal. App. 4th 1295, 1307.

III. CONCLUSION

No triable issue of fact exists sufficient to continue the existence of this case. The causes of
action set forth by Brannon in his complaint are susceptible to the Court’s power to reach conclusions
on purely legal issues, and to dismiss each and every one of them.

1. There is no triable issue of fact that Brannon cannot state a cause of action under the UCL

based on unlawful conduct by virtue of any alleged violation of the DSHEA because
California law does not permit private litigants to bring an action based on alleged lack of
substantiation;

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There is no triable issue of fact that Brannon cannot state a cause of action under the UCL
based on unlawful conduct by virtue of any alleged violation of Prop 65 because he
specifically states that he is not alleging a breach of Prop 65 by Barlean’s;
There is no triable issue of fact that Brannon cannot state a cause of action under the UCL
based on unfair conduct by virtue of some generalized alleged failure to live up to the
provisions of Prop 65, He does not allege a violation of Prop 65, and therefore whether
or not the particular container of Product which he purchased at some unspecified time in
the past contained a Prop 65 warning is not relevant. At most, he has alleged that if
Barlean’s is not in compliance with Prop 65, then its labeling and advertising is “unfair.”
The only fact relevant to that inquiry is Barlean’s declaration under penalty of perjury that
it does comply with Prop 65,
There is no triable issue of fact that Brannon cannot state cause of action under the UCL
because the California legislature has determined that a defendant in compliance with
applicable law cannot be sued under the UCL.
There is no triable issue of fact that Brannon cannot seek injunctive relief in this matter
because Barlean’s is in compliance with Prop 65 and such relief is unnecessary and
unwarranted.
There is no triable issue of fact that Brannon does not have standing to seek injunctive
relief in this matter because his statement that, now that he knows that the Product has
some level of naturally occurring lead, he will purchase it in the future. Since he avers

that if he had known in the past that the Product had some level of naturally occurring

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lead, he would not have purchased it, his standing for injunctive relief is not based on any
facially plausible statement, and cannot rise to the level of a materially disputed fact.

There is no triable issue of fact that Brannon cannot state a cause of action under the FAL
because, again, he uses Prop 65 and the DSHEA as the standards for the alleged falsity of
the Representations He cannot allege a violation of DSHEA and has not alleged a
violation of Prop 65. Again, at most, he has alleged that if Barlean’s is not in compliance
with Prop 65, then its labeling and advertising is “false and deceptive.” The only fact
relevant to that inquiry is Barlean’s declaration under penalty of perjury that it doesl
comply with Prop 65, thus meeting the very standard that Brannon himself has proffered.
There is no triable issue of fact that Brannon cannot state a cause of action under the FAL
because the Representations fall into the category of “puffing,” rather than being specific
statements of quantity, ingredients or specific characteristics lf Brannon had alleged that
the Representations included a statement such as “lead free,” then he might state a cause
of action under the FAL, but he has not, and cannot.
There is no triable issue of fact that Brannon cannot state a cause of action under the
CCLRA because there is no triable issue of` fact that Brannon cannot state a cause of
action under the UCL or the FAL, which the CCLRA is designed to enforce.
There is no triable issue of fact that Brannon cannot state a cause of action under a theory
of breach of express warranty because the Representations, as “puffery,” are not
sufficiently specific or capable of quantification to support an allegation that they

constitute an express warranty.

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1 1 l. There is no triable issue of fact that Brannon cannot state a claim for restitution under a
2 quasi-contract theory because the Representations fall into the category of “puf`fery,” and
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cannot support a claim for restitution
Barlean’s respectfully suggests that Brannon cannot cure these issues by amendment ot` his

Complaint, and that Barlean’s is entitled to summary judgment on the entire Complaint

8 Dated: August 13, 2018 Respectfully submitted,

9 BARLEAN’S
Joel Mattcson, Esq'.
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11 WILSON, LSER, MOSKOWITZ,

EDELMA & lC 13 LLP
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By:

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Attorneys for Defendant BARLEAN’S

 

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PROOF OF SERVICE

The undersigned heerby cetifies that a true copy of the following document has been served
on August 13, 2018 to all counsel of record who are deemed to have vconsented to electronic
service via the Court’s CM/ECF system per Civil Local Rule 5.4:

DEFENDANTS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT

Any other cunsel of record will be served by electronic mail, facsimile, and/ or overnight
delivery.

l declare under penalty of perjury under the laws of the State of California that the foregoing
is true and correct to the best of my knowledge.

EXECUTED on August 13, 2018, at San Francisco, Califomia.

/S/ Socorro Lee
Socorro Lee

 

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Proof of Service
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